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                     EXHIBIT A
                    SERVICE LIST
                                Case 3:05-bk-03817-JAFSERVICE
                                                         DocLIST
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                                         Agreed Order Resolving Claims Filed by Brown Bottling
                                          Group Inc., HP Hood LLC, Nestle Prepared Foods Co.,
                                       Nestle Purina Petcare Company, Nestle USA, Pepsiamericas
                                         Inc., Pepsi-Cola Bottling Co. of Charlotte... as Set Forth
                                           in the Debtors' Twenty-Second Omnibus Objection
DEBTOR:        WINN-DIXIE STORES, INC., ET AL.                                                                    CASE: 05-03817-3F1
CREDITOR ID: 408429-15                             CREDITOR ID: 408429-15                             CREDITOR ID: 382023-36
BROWN BOTTLING GROUP, INC                          BROWN BOTTLING GROUP, INC                          HP HOOD LLC
C/O WATKINS, LUDLAM, ET AL                         ATTN RAY WILKINS, EXEC VP OF FIN                   ATTN DAVID E HOWES, CR MGR
ATTN KRISTINA M JOHNSON, ESQ                       591 HIGHLAND COLONY PKWY                           1250 EAST STREET SOUTH
633 NORTH STATES ST                                RIDGELAND MS 39157                                 SUFFIELD CT 06078-2498
PO BOX 427
JACKSON MS 39205-0427


CREDITOR ID: 408428-15                             CREDITOR ID: 408427-15                             CREDITOR ID: 279251-35
NESTLE PREPARED FOODS CO                           NESTLE PURINA PETCARE COMPANY                      NESTLE USA
HAND HELD FOODS GROUP                              C/O NESTLE USA                                     ATTN NANCY REYNOSO/PETE KNOX
C/O NESTLE USA                                     ATTN NANCY REYNOSO/PETE KNOX                       800 NORTH BRAND BLVD
ATTN NANCY REYNOSO/PETE KNOX                       800 N BRAND BLVD                                   GLENDALE CA 91203
800 N BRAND BLVD                                   GLENDALE CA 91203
GLENDALE CA 91203


CREDITOR ID: 279086-32                             CREDITOR ID: 279260-35                             CREDITOR ID: 279268-35
PEPSIAMERICAS, INC                                 PEPSI-COLA BOTTLING CO OF CHARLOTTE                RECKITT BENCKISER, INC
ATTN STEVEN M ZANIN, MGR                           ATTN JON CARROLL                                   ATTN HEIDI BESOLD, REG CR MGR
3501 ALGONQUIN ROAD                                100 REYNOLDS BOULEVARD                             399 INTERPACE PARKWAY
ROLLING MEADOWS IL 60008-3103                      WINSTON-SALEM NC 27105                             PO BOX 225
                                                                                                      PARSIPPANY NJ 07054-0225



CREDITOR ID: 278985-99                             CREDITOR ID: 279300-35
RIVIANA FOODS, INC                                 WYETH CONSUMER HEALTHCARE
C/O LOCKE LIDDELL & SAPP LLP                       ATTN CHARLOTTE T FOX, SR MGR
ATTN W STEVEN BRYANT, ESQ                          PO BOX 26609
2400 CHASE TOWER                                   RICHMOND VA 23261-6609
600 TRAVIS STREET, SUITE 3400
HOUSTON TX 77002-3095


        Total: 11
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                         EXHIBIT B
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CaseCase
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         3:05-bk-03817-JAF        13198 Filed
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CaseCase
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   Case  3:05-bk-03817-JAFDocument 13198Filed
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